      Case 2:22-cv-00174-TOR   ECF No. 21   filed 09/21/22   PageID.725 Page 1 of 30




 1 James Breitenbucher, WSBA #27670                           Honorable Thomas O. Rice
   FOX ROTHSCHILD LLP
 2 1001 Fourth Avenue, Suite 4400
   Seattle, Washington 98154
 3 206.624.3600
 4 Kelly Konkright, WSBA #33544
   LUKINS & ANNIS, P.S.
 5 717 West Sprague Avenue, Suite 1600
   Spokane, Washington 99201
 6 509.455.9555
 7 Cali R. Spota (admitted pro hac vice)
   FOX ROTHSCHILD LLP
 8 997 Lenox Drive
   Lawrenceville, New Jersey 08648
 9 609.896.3600
10 Attorneys for Defendant/Counterclaimant/
   Third-Party Plaintiff Projekt Bayern Association
11
                         UNITED STATES DISTRICT COURT
12               FOR THE EASTERN DISTRICT OF WASHINGTON
13 CITY OF LEAVENWORTH,                         No. 2:22-cv-00174-TOR
   a Washington municipal corporation,
14                                              DEFENDANT /
             Plaintiff/Counterclaim             COUNTERCLAIMANT /
15           Defendant,                         THIRD-PARTY PLAINTIFF
        v.                                      PROJEKT BAYERN
16 PROJEKT BAYERN ASSOCIATION,                  ASSOCIATION’S AMENDED
   a Washington nonprofit corporation,          COUNTERCLAIMS AND
17                                              THIRD-PARTY COMPLAINT
             Defendant/Counterclaimant.
18
                                                JURY TRIAL DEMANDED
19 PROJEKT BAYERN ASSOCIATION,
   a Washington nonprofit corporation,
20
              Third-Party Plaintiff,
21
         v.
22
   LEAVENWORTH CHAMBER OF
23 COMMERCE, a Washington nonprofit
   corporation,
24
              Third-Party Defendant.
25
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                            FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 1                                   1001 FOURTH AVENUE, SUITE 4400
                                                                                 SEATTLE, WA 98154
                                                                                      206.624.3600
      Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.726 Page 2 of 30




 1      AMENDED COUNTERCLAIMS AND THIRD-PARTY COMPLAINT
 2         1.     Projekt Bayern Association (“Projekt Bayern”), for its Counterclaim
 3 and Counterclaim Complaint against The City of Leavenworth (the “City”) and the
 4 Leavenworth Chamber of Commerce (the “Chamber”) respectively, states as
 5 follows.
 6                    I.   PARTIES, JURISDICTION, AND VENUE
 7         2.     Counterclaim Defendant City of Leavenworth is a Washington
 8 municipal corporation located in Chelan County, Washington.
 9         3.     Third-Party Defendant the Leavenworth Chamber of Commerce is a
10 Washington nonprofit corporation with its principal place of business at 940 U.S.-2,
11 Suite B, Chelan County, Leavenworth, Washington.
12         4.     Counterclaimant Projekt Bayern Association is a Washington nonprofit
13 corporation with its principal place of business at 10402 Chumstick Highway,
14 Leavenworth, Chelan County, Washington.
15         5.     This civil action arises under the Lanham Trademark Act, 15 U.S.C. §
16 1125(a) and violations of Washington law. This Court has original subject matter
17 jurisdiction over this action pursuant to 28 U.S.C. § 1331, 1338(a)-(b) and 15 U.S.C.
18 § 1121, and supplemental jurisdiction over causes of action based on state law,
19 pursuant to 28 U.S.C. § 1367.
20         6.     Jurisdiction is proper as to Counterclaim Defendant City of
21 Leavenworth and Third-Party Defendant the Leavenworth Chamber of Commerce
22 because both are Washington state corporations with their offices and principal
23 places of business in the State of Washington. Both the City and the Chamber’s
24 wrongful acts occurred within the State of Washington.
25         7.     Venue is proper in this district under 28 U.S.C. § 1391 because the
26 Chamber transacts business in this district, a substantial part of the events giving rise
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                 FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 2                                        1001 FOURTH AVENUE, SUITE 4400
                                                                                      SEATTLE, WA 98154
                                                                                           206.624.3600
      Case 2:22-cv-00174-TOR      ECF No. 21   filed 09/21/22   PageID.727 Page 3 of 30




 1 to Counterclaimant’s claims arose in this district, and the effects of the Chamber’s
 2 and the City’s unlawful actions are felt in this district. Further, the City originally
 3 brought this case in this district.
 4                   II.     STATEMENT OF ADDITIONAL FACTS
 5         8.     Projekt Bayern has been rendering, among other things, entertainment
 6 services in the nature of organizing and conducting cultural festivals featuring food,
 7 beverages, alcohol, live musical performances, and entertainment for children and
 8 adults (the “Projekt Bayern Services”) in connection with the trademark
 9 LEAVENWORTH OKTOBERFEST (the “LEAVENWORTH OKTOBERFEST”
10 Mark) since August 1998.
11         9.     Projekt Bayern is the owner of U.S. Trademark Registration No.
12 5,239,374      for      the   LEAVENWORTH           OKTOBERFEST            Mark           (the
13 “LEAVENWORTH OKTOBERFEST Registration”).
14         10.    The LEAVENWORTH OKTOBERFEST Registration was placed on
15 the Principal Register of the United States Patent and Trademark office on July 11,
16 2017.
17         11.    The LEAVENWORTH OKTOBERFEST Registration provides
18 conclusive evidence of Projekt Bayern’s exclusive right to use its LEAVENWORTH
19 OKTOBERFEST Mark in commerce pursuant to 15 U.S.C. § 1115(b), and it also
20 provides nationwide constructive notice of Projekt Bayern’s exclusive rights
21 pursuant to 15 U.S.C. § 1072.
22         12.    Projekt Bayern has enjoyed continuous and exclusive use of its
23 LEAVENWORTH OKTOBERFEST Mark for its services since August 1998,
24 including the yearly production of its LEAVENWORTH OKTOBERFEST event.
25         13.    Projekt Bayern has heavily invested in the advertisement and offering
26 of its Projekt Bayern Services. In fact, Projekt Bayern has invested hundreds of
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 3                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
      Case 2:22-cv-00174-TOR       ECF No. 21   filed 09/21/22   PageID.728 Page 4 of 30




 1 thousands of dollars in building its LEAVENWORTH OKTOBERFEST brand
 2 connected with its Projekt Bayern Services.
 3          14.      Projekt Bayern has also donated more than $500,000 to improve the
 4 City of Leavenworth, enhance the Bavarian theme, and help build the goodwill
 5 associated with its LEAVENWORTH OKTOBERFEST Mark and the Projekt
 6 Bayern Services, including a complete restoration of the iconic Gazebo in Front
 7 Street Park.
 8          15.      Based on the continuous and exclusive use of the LEAVENWORTH
 9 OKTOBERFEST Mark, and because of the extensive advertising, promotion, and
10 offering of services under the LEAVENWORTH OKTOBERFEST Mark, the
11 LEAVENWORTH OKTOBERFEST Mark has become distinctive of the Projekt
12 Bayern Services in the minds of the consuming public. In fact, people travel across
13 the country yearly to participate in Projekt Bayern’s LEAVENWORTH
14 OKTOBERFEST branded events. The public recognizes the LEAVENWORTH
15 OKTOBERFEST Mark as representing the quality and value of the Projekt Bayern
16 Services, identifying the Projekt Bayern Services as coming from a single source,
17 and distinguishing the Projekt Bayern Services from services provided by other
18 sources.
19       The City of Leavenworth and the Leavenworth Chamber of Commerce’s
20            Directly Competing and Purposely Confusingly Similar Event
21          16.      Since 1998, Projekt Bayern operated its LEAVENWORTH
22 OKTOBERFEST festival in the City of Leavenworth.
23          17.      On September 26, 2012, the City of Leavenworth and Projekt Bayern
24 entered into a lease agreement, under which Projekt Bayern would lease space for
25 its     Projekt     Bayern   Services,   which    included     the   LEAVENWORTH
26 OKTOBERFEST event.
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 4                                       1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
      Case 2:22-cv-00174-TOR       ECF No. 21   filed 09/21/22   PageID.729 Page 5 of 30




 1         18.   Under the 2012 Agreement, Projekt Bayern agreed to donate to the City
 2 of Leavenworth $50,000 annually during the term of the 2012 Agreement. The
 3 original term of the 2012 Agreement was five years, with the possibility of automatic
 4 renewal after the first five-year period.
 5         19.   The 2012 Agreement makes no reference to ownership of Intellectual
 6 Property rights or any licenses relating to same. Instead, Paragraph III.A. of the 2012
 7 Agreement specifically identifies the LEAVENWORTH OKTOBERFEST event as
 8 belonging to Projekt Bayern by stating: “In exchange for the Annual
 9 Donation/Compensation Payment, Projekt Bayern will have full use of the Fruit
10 Warehouse for its Oktoberfest Festival and related activities…” Exh. B at p. 4
11 (emphasis added).
12         20.   There is nothing in the 2012 Agreement that suggests the City of
13 Leavenworth       owns    the    LEAVENWORTH            OKTOBERFEST             event        or
14 LEAVENWORTH OKTOBERFEST Mark. Instead, the 2012 Agreement simply
15 grants Projekt Bayern a right to use the property for “its” LEAVENWORTH
16 OKTOBERFEST event.
17         21.   The City of Leavenworth and Projekt Bayern had a cordial business
18 relationship for many years. In fact, Projekt Bayern donated more than $500,000 to
19 improve the City of Leavenworth and enhance the Bavarian theme.
20         22.   The 2012 Agreement was renewed in 2017. Projekt Bayern continued
21 to offer its LEAVENWORTH OKTOBERFEST event in Leavenworth until 2020.
22         23.   Due to the global coronavirus pandemic and the restrictions put in place
23 by the City of Leavenworth to limit the spread of the virus, Projekt Bayern could not
24 operate its LEAVENWORTH OKTOBERFEST event in Leavenworth in 2020 or
25 2021. In 2021, Projekt Bayern organized a free, street fair, or harvest festival in
26 Leavenworth.
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 5                                       1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
      Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.730 Page 6 of 30




 1         24.    The City of Leavenworth terminated the 2012 Agreement with Projekt
 2 Bayern by letter dated March 23, 2021.
 3         25.    In a June 3, 2022 Press Release, the City of Leavenworth announced:
 4 “Historically, October has been reserved for Oktoberfest. The City is seeking a new
 5 style of partnership with an entity that will conceptualize, plan, prepare, execute,
 6 evaluate and replicate a marquee event to promote the City, showcase local
 7 businesses, respect community character, celebrate inclusion, and balance the needs
 8 of visitors and residents in October.” (Emphasis added.)
 9         26.    When Projekt Bayern submitted a proposal to operate its
10 LEAVENWORTH OKTOBERFEST event in 2022, the City of Leavenworth did
11 not seriously consider Projekt Bayern’s proposal, rejecting Projekt Bayern’s final
12 proposal on the same day that it was made.
13         27.    Projekt    Bayern     reserved    Leavenworth       Festhalle        for       its
14 LEAVENWORTH OKTOBERFEST event in 2022. Under Leavenworth Festhalle’s
15 published policies and procedures, the Leavenworth Festhalle allowed groups to
16 lease the facility for the same period that they had in the prior year. The City directed
17 the Leavenworth Festhalle’s staff to cancel Projekt Bayern’s reservations for 2022
18 in violation of Leavenworth Festhalle’s published policies and procedures.
19         28.    Wanting to continue offering the Projekt Bayern Services, including the
20 LEAVENWORTH OKTOBERFEST event, in the same manner that consumers
21 were accustomed to and have come to associate the LEAVENWORTH
22 OKTOBERFEST event with, Projekt Bayern made the decision to move its event to
23 Wenatchee, Washington, a city from which it has operated shuttle buses to and from
24 its LEAVENWORTH OKTOBERFEST event for many years.
25         29.    In Wenatchee, Projekt Bayern will continue to operate the
26 LEAVENWORTH OKTOBERFEST event with the same traditions and offerings,
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                 FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 6                                        1001 FOURTH AVENUE, SUITE 4400
                                                                                      SEATTLE, WA 98154
                                                                                           206.624.3600
      Case 2:22-cv-00174-TOR   ECF No. 21   filed 09/21/22   PageID.731 Page 7 of 30




 1 including    musicians   and   vendors     Projekt   Bayern   hired     in     previous
 2 LEAVENWORTH OKTOBERFEST events. Projekt Bayern is also marketing the
 3 LEAVENWORTH OKTOBERFEST event in Wenatchee to the same prospective
 4 visitors as previous LEAVENWORTH OKTOBERFEST events; is offering shuttle
 5 bus service between Leavenworth and Wenatchee just as Projekt Bayern offered for
 6 previous LEAVENWORTH OKTOBERFEST events; and will use funds from the
 7 LEAVENWORTH OKTOBERFEST event in Wenatchee to promote the Old-World
 8 Bavarian theme in Leavenworth and the surrounding area.
 9        30.   According to the City of Leavenworth’s records, on August 3, 2021,
10 just twenty-two (22) seconds before the deadline, SE Productions of Seattle
11 submitted a two-page proposal for a “Leavenworth Harvest Festival / Leavenworth
12 Fall Fest / Leavenworth Fall Festival” with the following caveat: “All elements of
13 the proposed event are to be determined by a site visit and further exploratory
14 conversations with the City of Leavenworth.”
15        31.   On October 7, 2021, the City of Leavenworth announced, “a
16 partnership with SE Productions for the October 2022 festival and beyond in
17 Leavenworth.”
18        32.   After SE Productions withdrew its participation from any October 2022
19 festival, the City of Leavenworth began working with the Leavenworth Chamber of
20 Commerce with no request for proposal or bidding process.
21        33.   On July 11, 2022, the City of Leavenworth announced that it would
22 operate an “Oktoberfest 2022” in Leavenworth (“the 2022 Festival”) to directly
23 compete with Projekt Bayern’s LEAVENWORTH OKTOBERFEST event in
24 Wenatchee.
25        34.   The Leavenworth Chamber of Commerce, in partnership with the City
26 of Leavenworth, will provide the 2022 Festival in a geographic area that directly
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                              FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 7                                   1001 FOURTH AVENUE, SUITE 4400
                                                                                 SEATTLE, WA 98154
                                                                                      206.624.3600
      Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.732 Page 8 of 30




 1 overlaps with the geographic area in which Projekt Bayern provides its
 2 LEAVENWORTH OKTOBERFEST event-related services.
 3         35.    The Chamber and the City are purposely trading off Projekt Bayern’s
 4 investment in its LEAVENWORTH OKTOBERFEST Mark and the goodwill
 5 associated     with    the    LEAVENWORTH             OKTOBERFEST             Mark          and
 6 LEAVENWORTH OKTOBERFEST event by marketing the 2022 Festival as an
 7 event identical to Projekt Bayern’s LEAVENWORTH OKTOBERFEST event.
 8         36.    For example, in a release dated July 11, 2022, Jessica Stroller, on behalf
 9 of the Leavenworth Chamber of Commerce, wrote that “Oktoberfest returns to
10 Leavenworth over three weekends,” insinuating to consumers that Projekt Bayern’s
11 Oktoberfest, which has been the only Oktoberfest event taking place in the City of
12 Leavenworth for the past 20 years, will be held in Leavenworth again this year. This
13 statement is also visible on the Chamber’s website for the 2022 Festival as seen
14 below:
15
16
17
18
19
20
21
22
23
24
25
     (https://leavenworth.org/oktoberfest/)
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                 FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 8                                        1001 FOURTH AVENUE, SUITE 4400
                                                                                      SEATTLE, WA 98154
                                                                                           206.624.3600
      Case 2:22-cv-00174-TOR    ECF No. 21    filed 09/21/22   PageID.733 Page 9 of 30




 1        37.    The use of the word “returns” signals to consumers that Projekt Bayern
 2 will once again be providing its LEAVENWORTH OKTOBERFEST in
 3 Leavenworth, Washington in 2022. This statement will confuse consumers into
 4 believing the LEAVENWORTH OKTOBERFEST will be held in Leavenworth,
 5 Washington again in 2022 and/or there is an association between the Chamber and
 6 City’s 2022 Festival and Projekt Bayern.
 7        38.    As seen below, the phrases like “Oktoberfest returns” and “Oktoberfest
 8 is Back” is the focus of the Chamber’s marketing efforts and advertisements for the
 9 2022 Festival, to suggest to consumers that the 2022 Festival will be the same
10 Oktoberfest-themed event that they have come to know and enjoy for the last 20
11 years, i.e., Projekt Bayern’s LEAVENWORTH OKTOBERFEST:
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                              FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 9                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                   SEATTLE, WA 98154
                                                                                        206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21   filed 09/21/22   PageID.734 Page 10 of 30




 1         39.   Notably, in the advertisement seen above, and focused in on below,
 2 although the words “Leavenworth” and “Oktoberfest” are separated by a period, the
 3 Chamber’s advertisement purposely puts the two words close together to
 4 subconsciously bring “LEAVENWORTH OKTOBERFEST” to the consumers’
 5 minds:
 6
 7
 8
 9
10
11         The Chamber is aware of the goodwill and success associated with Projekt
12 Bayern’s      LEAVENWORTH             OKTOBERFEST           and    LEAVENWORTH
13 OKTOBERFEST Mark. It is using these deceptive tactics in its marketing efforts to
14 confuse and mislead consumers into believing its 2022 Festival is somehow related
15 to Projekt Bayern’s LEAVENWORTH OKTOBERFEST, a continuation of the
16 same 20+ year event, and unfairly compete in the marketplace.
17         40.   Further, in addition, the Leavenworth Chamber of Commerce is
18 promoting the 2022 Festival by advertising that it will replicate popular features used
19 in Projekt Bayern’s LEAVENWORTH OKTOBERFEST event. As seen above, the
20 Leavenworth Chamber of Commerce’s website claims “Oktoberfest returns this
21 October with longstanding traditions of music, dancing, and the ceremonial tapping
22 of the kegs!” (https://leavenworth.org/oktoberfest/)
23         41.   Over the past 20 years, Projekt Bayern has been providing an
24 Oktoberfest experience to consumers traveling from around the country to a specific
25 region of Central Washington. After years of providing a high quality, popular event,
26 showcasing the region and many local vendors, consumers have come to trust that
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 10                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.735 Page 11 of 30




 1 the LEAVENWORTH OKTOBERFEST event rendered by Projekt Bayern will be
 2 the same high-quality event they have enjoyed for years.
 3        42.     Based on the City’s and the Chamber’s advertising to date, it is apparent
 4 that the City and the Chamber are trying to mimic the qualities of LEAVENWORTH
 5 OKTOBERFEST that consumers have come to recognize and expect to not only
 6 trade on Projekt Bayern’s success, but to also confuse consumers into believing that
 7 the 2022 Festival is associated with and/or sponsored by Projekt Bayern.
 8        43.     The Chamber is using photographs, depicting the LEAVENWORTH
 9 OKTOBERFEST event rendered by Projekt Bayern, to advertise the City and the
10 Chamber’s competing Oktoberfest-themed event. For example, the below, which the
11 Chamber posted, shows a picture of Projekt Bayern’s LEAVENWORTH
12 OKTOBERFEST:
13
14
15
16
17
18
19
20        (https://www.wenatcheeworld.com/news/city-of-leavenworth-to-launch-
21        new-oktoberfest-with-smaller-beer-gardens-more-family-activities/article
22        _9a760d34-03c0-11ed-b547-7389fa5a7dab.html#:~:text=The%20city%20
23        of%20Leavenworth%20is,more%20community%20and%20family%20frien
24        dly).
25        The above image was taken from an article posted by Wenatchee World, a
26 member of the Chamber. See https://leavenworth.org/service-directory/advertising-
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 11                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.736 Page 12 of 30




 1 marketing/. The picture displays a group of individuals who attended
 2 LEAVENWORTH OKTOBERFEST at Projekt Bayern’s invitation.
 3         44.   Upon information and belief, this deceptive tactic is being done at the
 4 City’s direction and/or request. Projekt Bayern understands that the Chamber was
 5 asked to help plan and run the 2022 Festival for the City. The Chamber therefore has
 6 the City’s permission to run the 2022 Festival. Because of this relationship, the City
 7 likely has influence over, or must approve of, the Chamber’s marketing efforts
 8 relating to the 2022 Festival. Thus, the City fosters or participates in the Chamber’s
 9 marketing efforts.
10         45.   In addition, upon information and belief, the City of Leavenworth has
11 promised to subsidize the Leavenworth Chamber of Commerce to cover expenses
12 related to the 2022 Festival in Leavenworth.
13         46.   The Chamber, and the City, whether jointly, as licensor-licensee, or as
14 an agent of the other, is intentionally using the recognition and goodwill associated
15 with Projekt Bayern and Projekt Bayern’s LEAVENWORTH OKTOBERFEST
16 event to launch its directly competing Oktoberfest event. Consumers will see
17 pictures like the example provided above, which depicts the festival they have long
18 recognized as originating with Projekt Bayern, and immediately assume the 2022
19 Festival is (1) being provided again by Projekt Bayern; and/or (2) associated with /
20 sponsored by Projekt Bayern. The use of pictures depicting LEAVENWORTH
21 OKTOBERFEST will therefore help cause additional consumer confusion.
22         47.   The City and the Chamber are aware or should be aware that the
23 consuming public recognizes and relies on the LEAVENWORTH OKTOBERFEST
24 Mark and LEAVENWORTH OKTOBERFEST event to identify the Projekt Bayern
25 Services and to distinguish the Projekt Bayern Services from the services of others.
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 12                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.737 Page 13 of 30




 1         48.   The City and the Chamber are aware or should be aware that their use
 2 of the words “return” and “back” and pictures depicting the Projekt Bayern Services
 3 in its marketing materials is likely to confuse, mislead, and otherwise deceive
 4 consumers into believing the 2022 Festival originates from, is affiliated with, and/or
 5 is licensed, sponsored, approved, or authorized by Projekt Bayern.
 6         49.   Further, the City and the Chamber are aware or should be aware that
 7 the mimicking of the Projekt Bayern Services offered in connection with the
 8 LEAVENWORTH OKTOBERFEST Mark in the offering of the 2022 Festival is
 9 likely to confuse, mislead, and otherwise deceive consumers into believing the 2022
10 Festival originates from, is affiliated with, and/or is licensed, sponsored, approved,
11 or authorized by Projekt Bayern.
12         50.   The City and the Chamber are aware or should be aware that the use of
13 the words “Leavenworth” and “Oktoberfest” so closely together in connection with
14 their marketing and advertising efforts for the 2022 Festival is likely to confuse,
15 mislead, and otherwise deceive consumers into believing the 2022 Festival
16 originates from, is affiliated with, and/or is licensed, sponsored, approved, or
17 authorized by Projekt Bayern.
18         51.   The City and the Chamber’s deceptive marketing and advertising and
19 direct copying of the Projekt Bayern Services, including the use of phrases like
20 “Oktoberfest returns” and “Oktoberfest is Back” and displaying pictures of the
21 Projekt Bayern Services, in connection with the production of a separate, directly
22 competing festival, has caused actual confusion and is likely to cause additional
23 confusion or to cause a mistake or to deceive as to affiliation, connection, or
24 association between the City and the Chamber and Projekt Bayern.
25         52.   By the aforementioned acts, the City and the Chamber have exploited
26 and sought to trade upon the reputation and goodwill developed by Projekt Bayern
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 13                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.738 Page 14 of 30




 1 in connection with its LEAVENWORTH OKTOBERFEST Mark and the Projekt
 2 Bayern Services.
 3         53.   Upon information and belief, the City and Chamber’s acts were and still
 4 are being committed with the reckless disregard of Projekt Bayern’s rights and the
 5 likelihood that consumers would be confused and falsely believe that the 2022
 6 Festival is provided by, licensed by, sponsored by, endorsed by, or otherwise
 7 affiliated with Projekt Bayern.
 8         54.   The City and the Chamber’s acts will likely induce consumers to
 9 believe that Projekt Bayern is offering its LEAVENWORTH OKTOBERFEST
10 event in Leavenworth, or at least believe that 2022 Festival is licensed by, sponsored
11 by, endorsed by, or otherwise affiliated with Projekt Bayern. The City and the
12 Chamber’s acts will also likely induce consumers to attend the 2022 Festival in the
13 mistaken belief that the City and the Chamber have affiliated with the Projekt Bayern
14 Services and will be expecting the same level of quality and service.
15         55.   In fact, Projekt Bayern has already received inquiries from consumers
16 and third parties as to whether Projekt Bayern was offering or was otherwise
17 associated with the 2022 Festival. Projekt Bayern has also received communications
18 from consumers who planned to travel to the 2022 Festival, assuming that Projekt
19 Bayern was providing its LEAVENWORTH OKTOBERFEST event with the City
20 of Leavenworth.
21         56.   As a result of the City and the Chamber’s conduct, Projekt Bayern has
22 suffered and, unless enjoined by this Court, will continue to suffer damages to its
23 business, reputation, and goodwill.
24         57.   The wrongful activities and unfair competition of the City and the
25 Chamber are wanton, willful, and deliberate.
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 14                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.739 Page 15 of 30




 1         58.   On April 27, 2022, Projekt Bayern, through legal counsel, wrote the
 2 City of Leavenworth to remind the City and its mayor that Projekt Bayern owns the
 3 LEAVENWORTH OKTOBERFEST Mark and demanding that the City of
 4 Leavenworth refrain from using the LEAVENWORTH OKTOBERFEST Mark or
 5 any confusing similar marks.
 6         59.   The City of Leavenworth responded to this April 27, 2022 letter by
 7 filing this lawsuit and initiating a proceeding before United States Patent and
 8 Trademark Office’s Trademark Trial and Appeal Board, seeking to cancel Projekt
 9 Bayern’s LEAVENWORTH OKTOBERFEST Mark.
10         60.   The City moved to dismiss Projekt Bayern’s Counterclaims on August
11 31, 2022. Dkt. No. 14 (“Motion to the Dismiss”). The Motion to Dismiss states that
12 the Chamber is responsible for the deceptive advertising practices mentioned in
13 Projekt Bayern’s Counterclaims. See Motion to Dismiss at pp. 5-6.
14                                       COUNT I
15       FALSE DESIGNATION OF ORIGIN, FALSE DESCRIPTION, AND
16               UNFAIR COMPETITION UNDER 15 U.S.C. §1125(a)
17                          (Against the City of Leavenworth)
18         61.   Projekt Bayern repeats, realleges, and incorporates all of the allegations
19 made in the foregoing paragraphs of the Counterclaims as if fully set forth herein.
20         62.   Projekt Bayern is the owner of U.S. Registration No. 5,239,374 for the
21 mark LEAVENWORTH OKTOBERFEST. Projekt Bayern is the prior user of the
22 LEAVENWORTH OKTOBERFEST mark/name in connection with the offering
23 and rendering of entertainment services in the nature of organizing and conducting
24 cultural festivals featuring food, beverages, alcohol, live musical performances, and
25 entertainment for children and adults.
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 15                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.740 Page 16 of 30




 1         63.    As result of longstanding and extensive use of the LEAVENWORTH
 2 OKTOBERFEST trademark and wide recognition among attendees of its
 3 Oktoberfest celebrations, Projekt Bayern’s LEAVENWORTH OKTOBERFEST
 4 Mark has become distinctive and an indication of the source of such festivities.
 5         64.    Because of the highly entertaining and superb quality service Projekt
 6 Bayern provides to those attending its Oktoberfest event year after year, consumers
 7 have come to associate the LEAVENWORTH OKTOBERFEST event with Projekt
 8 Bayern.
 9         65.    As described above, the City is knowingly and willfully misleading and
10 deceiving consumers into believing that the 2022 Festival, being held in
11 Leavenworth, has an affiliation, connection, or association with Projekt Bayern, or
12 that the 2022 Festival is approved or sponsored by Projekt Bayern.
13         66.    The City’s actions described above, including falsely and misleadingly
14 describing or representing in commercial advertising and promotion of the City’s
15 services as that of Projekt Bayern’s, either directly or through the Chamber as its
16 agent, misrepresents the nature, characteristics, and qualities of the City’s services.
17         67.    For example, in a release dated July 11, 2022, Jessica Stroller, on behalf
18 of Leavenworth Chamber of Commerce, wrote that “Oktoberfest returns to
19 Leavenworth over three weekends,” insinuating to consumers that Projekt Bayern’s
20 LEAVENWORTH OKTOBERFEST event, which has been the only Oktoberfest
21 event taking place in the City of Leavenworth for the past 20 years, will be held in
22 Leavenworth again this year.
23         68.    An advertisement for the 2022 Festival also stated that “Oktoberfest is
24 back,” again, suggesting to consumers that Projekt Bayern’s LEAVENWORTH
25 OKTOBERFEST event, which has been the only Oktoberfest event taking place in
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                 FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 16                                       1001 FOURTH AVENUE, SUITE 4400
                                                                                      SEATTLE, WA 98154
                                                                                           206.624.3600
     Case 2:22-cv-00174-TOR       ECF No. 21   filed 09/21/22   PageID.741 Page 17 of 30




 1 the Leavenworth area for the past 20 years, will be held in Leavenworth again this
 2 year.
 3         69.     Because of the partnership created between the City and the Chamber,
 4 said statement was either (1) made at the City’s direction or (2) approved by the
 5 City.
 6         70.     Furthermore, the City is either instructing or approving others to use
 7 photographs, depicting the LEAVENWORTH OKTOBERFEST event rendered by
 8 Projekt Bayern, to advertise the City and the Chamber’s directly competing festival.
 9 The City is intentionally using the recognition and goodwill associated with Projekt
10 Bayern and the Projekt Bayern Services, specifically its LEAVENWORTH
11 OKTOBERFEST event, to launch its directly competing festival.
12         71.     The City is also either instructing or approving others to use the words
13 “Leavenworth” and “Oktoberfest” closely together in connection with the marketing
14 and advertising efforts for the 2022 Festival so as to confuse, mislead, and otherwise
15 deceive consumers into believing the 2022 Festival originates from, is affiliated
16 with, and/or is licensed, sponsored, approved, or authorized by Projekt Bayern.
17         72.     The City’s deceptive marketing and advertising, through the Chamber,
18 including the use of phrases like “Oktoberfest returns” and “Oktoberfest is Back,”
19 displaying pictures of Projekt Bayern Services, and the mimicking of the Projekt
20 Bayern        Services   offered   in   connection    with    the   LEAVENWORTH
21 OKTOBERFEST Mark in the offering of the 2022 Festival, has caused actual
22 confusion and is likely to cause additional confusion or to cause a mistake or to
23 deceive as to affiliation, connection, or association between the City and Projekt
24 Bayern and constitutes false designation of origin within the meaning of § 43(a) of
25 the Lanham Act, 15 U.S.C. § 1125(a).
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 17                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22    PageID.742 Page 18 of 30




 1         73.   The City’s acts were without license from or permission of Projekt
 2 Bayern.
 3         74.   The aforesaid acts constitute federal unfair competition in violation of
 4 § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
 5         75.   As a direct consequence of City’s unlawful acts and practices, Projekt
 6 Bayern has suffered, will continue to suffer, and/or is likely to suffer damage to its
 7 business reputation and goodwill, for which Projekt Bayern is entitled to relief.
 8         76.   By reason of the City’s unlawful acts and practices, the City has caused,
 9 is causing and, unless such acts are enjoined by the Court, will continue to cause
10 irreparable harm to Projekt Bayern for which there is no adequate remedy at law and
11 for which Projekt Bayern is entitled to injunctive relief.
12       FALSE DESIGNATION OF ORIGIN, FALSE DESCRIPTION, AND
13               UNFAIR COMPETITION UNDER 15 U.S.C. §1125(a)
14                  (Against the Leavenworth Chamber of Commerce)
15         77.   Projekt Bayern repeats, realleges, and incorporates all of the allegations
16 made in the foregoing paragraphs of the Counterclaims as if fully set forth herein.
17         78.   Projekt Bayern is the owner of U.S. Registration No. 5,239,374 for the
18 mark LEAVENWORTH OKTOBERFEST. Projekt Bayern is the prior user of the
19 LEAVENWORTH OKTOBERFEST mark/name in connection with the offering
20 and rendering of entertainment services in the nature of organizing and conducting
21 cultural festivals featuring food, beverages, alcohol, live musical performances, and
22 entertainment for children and adults.
23         79.   As result of longstanding and extensive use of the LEAVENWORTH
24 OKTOBERFEST trademark and wide recognition among attendees of its
25 Oktoberfest celebrations, Projekt Bayern’s LEAVENWORTH OKTOBERFEST
26 Mark has become distinctive and an indication of the source of such festivities.
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 18                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.743 Page 19 of 30




 1         80.    Because of the highly entertaining and superb quality service Projekt
 2 Bayern provides to those attending its Oktoberfest event year after year, consumers
 3 have come to associate the LEAVENWORTH OKTOBERFEST event with Projekt
 4 Bayern.
 5         81.    As described above, the Chamber is knowingly and willfully
 6 misleading and deceiving consumers into believing that the 2022 Festival, being held
 7 in Leavenworth, has an affiliation, connection, or association with Projekt Bayern,
 8 or that the 2022 Festival is approved or sponsored by Projekt Bayern.
 9         82.    The Chamber’s actions described above, including falsely and
10 misleadingly describing or representing in commercial advertising and promotion of
11 the Chamber’s services as that of Projekt Bayern’s, either directly or through acting
12 as an agent for the City, misrepresents the nature, characteristics, and qualities of the
13 Chamber’s services.
14         83.    For example, in a release dated July 11, 2022, Jessica Stroller, on behalf
15 of Leavenworth Chamber of Commerce, wrote that “Oktoberfest returns to
16 Leavenworth over three weekends,” insinuating to consumers that Projekt Bayern’s
17 LEAVENWORTH OKTOBERFEST event, which has been the only Oktoberfest
18 event taking place in the City of Leavenworth for the past 20 years, will be held in
19 Leavenworth again this year.
20         84.    An advertisement for the 2022 Festival also stated that “Oktoberfest is
21 back,” again, suggesting to consumers that Projekt Bayern’s LEAVENWORTH
22 OKTOBERFEST event, which has been the only Oktoberfest event taking place in
23 the Leavenworth area for the past 20 years, will be held in Leavenworth again this
24 year.
25         85.    Furthermore, the Chamber is using photographs, depicting the
26 LEAVENWORTH OKTOBERFEST event rendered by Projekt Bayern, to advertise
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                 FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 19                                       1001 FOURTH AVENUE, SUITE 4400
                                                                                      SEATTLE, WA 98154
                                                                                           206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21   filed 09/21/22   PageID.744 Page 20 of 30




 1 the City and the Chamber’s directly competing festival. The Chamber is
 2 intentionally using the recognition and goodwill associated with Projekt Bayern and
 3 the Projekt Bayern Services, specifically its LEAVENWORTH OKTOBERFEST
 4 event, to launch its directly competing festival.
 5         86.   The Chamber is using of the words “Leavenworth” and “Oktoberfest”
 6 so closely together in connection with the marketing and advertising efforts for the
 7 2022 Festival so to confuse, mislead, and otherwise deceive consumers into
 8 believing the 2022 Festival originates from, is affiliated with, and/or is licensed,
 9 sponsored, approved, or authorized by Projekt Bayern.
10         87.   The Chamber’s deceptive marketing and advertising, including the use
11 of phrases like “Oktoberfest returns” and “Oktoberfest is Back,” displaying pictures
12 of Projekt Bayern Services, and the mimicking of the Projekt Bayern Services
13 offered in connection with the LEAVENWORTH OKTOBERFEST Mark in the
14 offering of the 2022 Festival, has caused actual confusion and is likely to cause
15 additional confusion or to cause a mistake or to deceive as to affiliation, connection,
16 or association between the City and Projekt Bayern and constitutes false designation
17 of origin within the meaning of § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
18         88.   The Chamber’s acts were without license from or permission of Projekt
19 Bayern.
20         89.   The aforesaid acts constitute federal unfair competition in violation of
21 § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
22         90.   As a direct consequence of City’s unlawful acts and practices, Projekt
23 Bayern has suffered, will continue to suffer, and/or is likely to suffer damage to its
24 business reputation and goodwill, for which Projekt Bayern is entitled to relief.
25         91.   By reason of the Chamber’s unlawful acts and practices, the Chamber
26 has caused, is causing and, unless such acts are enjoined by the Court, will continue
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 20                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.745 Page 21 of 30




 1 to cause irreparable harm to Projekt Bayern for which there is no adequate remedy
 2 at law and for which Projekt Bayern is entitled to injunctive relief.
 3                                      COUNT III
 4                    COMMON LAW UNFAIR COMPETITION
 5                            (as to the City of Leavenworth)
 6         92.   Projekt Bayern repeats, realleges, and incorporates all of the allegations
 7 made in the foregoing paragraphs of the Counterclaims as if fully set forth herein.
 8         93.   This cause of action arises under the Common Law of Unfair
 9 Competition over which this Court has jurisdiction by virtue of 28 U.S.C. § 1338
10 and § 1367 and by the principles of supplemental jurisdiction.
11         94.   Projekt Bayern is the owner of U.S. Registration No. 5,239,374 for the
12 mark LEAVENWORTH OKTOBERFEST. Projekt Bayern is the prior user of the
13 LEAVENWORTH OKTOBERFEST mark/name in connection with the offering
14 and rendering of entertainment services in the nature of organizing and conducting
15 cultural festivals featuring food, beverages, alcohol, live musical performances, and
16 entertainment for children and adults.
17         95.   Because of the highly entertaining and superb quality service Projekt
18 Bayern provides to those attending its LEAVENWORTH OKTOBERFEST event
19 year after year, consumers have come to associate the LEAVENWORTH
20 OKTOBERFEST event with Projekt Bayern.
21         96.   Projekt Bayern possesses common law rights in its LEAVENWORTH
22 OKTOBERFEST Mark, which is uniquely associated with Projekt Bayern as to the
23 source of the goods and services offered in connection with the LEAVENWORTH
24 OKTOBERFEST Mark.
25         97.   As discussed above, the City has made, directed, or specifically
26 approved others to issue false and misleading representations to Projekt Bayern’s
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                  FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 21                                        1001 FOURTH AVENUE, SUITE 4400
                                                                                       SEATTLE, WA 98154
                                                                                            206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.746 Page 22 of 30




 1 current and prospective customers through the Chamber. The City’s conduct
 2 constitutes unfair methods of competition and unfair and deceptive acts and practices
 3 in the conduct of its trade in violation of Washington common law of unfair
 4 competition.
 5         98.    As a direct consequence of the City’s unlawful acts and practices,
 6 Projekt Bayern has suffered, will continue to suffer and/or is likely to suffer damage
 7 to its business reputation and goodwill, for which Projekt Bayern is entitled to relief.
 8         99.    By reason of the City’s unlawful acts and practices, the City has caused,
 9 is causing and, unless such acts are enjoined by the Court, will continue to cause
10 irreparable harm to Projekt Bayern for which there is no adequate remedy at law and
11 for which Projekt Bayern is entitled to injunctive relief.
12                                       COUNT IV
13                     COMMON LAW UNFAIR COMPETITION
14                    (as to the Leavenworth Chamber of Commerce)
15         100. Projekt Bayern repeats, realleges, and incorporates all of the allegations
16 made in the foregoing paragraphs of the Counterclaims as if fully set forth herein.
17         101. This cause of action arises under the Common Law of Unfair
18 Competition over which this Court has jurisdiction by virtue of 28 U.S.C. § 1338
19 and § 1367 and by the principles of supplemental jurisdiction.
20         102. Projekt Bayern is the owner of U.S. Registration No. 5,239,374 for the
21 mark LEAVENWORTH OKTOBERFEST. Projekt Bayern is the prior user of the
22 LEAVENWORTH OKTOBERFEST mark/name in connection with the offering
23 and rendering of entertainment services in the nature of organizing and conducting
24 cultural festivals featuring food, beverages, alcohol, live musical performances, and
25 entertainment for children and adults.
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 22                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.747 Page 23 of 30




 1         103. Because of the highly entertaining and superb quality service Projekt
 2 Bayern provides to those attending its LEAVENWORTH OKTOBERFEST event
 3 year after year, consumers have come to associate the LEAVENWORTH
 4 OKTOBERFEST event with Projekt Bayern.
 5         104. Projekt Bayern possesses common law rights in its LEAVENWORTH
 6 OKTOBERFEST Mark, which is uniquely associated with Projekt Bayern as to the
 7 source of the goods and services offered in connection with the LEAVENWORTH
 8 OKTOBERFEST Mark.
 9         105. As discussed above, the Chamber has made false and misleading
10 representations to Projekt Bayern’s current and prospective customers. The
11 Chamber’s conduct constitutes unfair methods of competition and unfair and
12 deceptive acts and practices in the conduct of its trade in violation of Washington
13 common law of unfair competition.
14         106. As a direct consequence of the Chamber’s unlawful acts and practices,
15 Projekt Bayern has suffered, will continue to suffer and/or is likely to suffer damage
16 to its business reputation and goodwill, for which Projekt Bayern is entitled to relief.
17         107. Because of the Chamber’s unlawful acts and practices, the Chamber has
18 caused, is causing and, unless such acts are enjoined by the Court, will continue to
19 cause irreparable harm to Projekt Bayern for which there is no adequate remedy at
20 law and for which Projekt Bayern is entitled to injunctive relief.
21                                        COUNT V
22       VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT
23                             (As to the City of Leavenworth)
24         108. Projekt Bayern repeats, realleges, and incorporates all of the allegations
25 made in the foregoing paragraphs of the Counterclaims as if fully set forth herein.
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 23                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21   filed 09/21/22   PageID.748 Page 24 of 30




 1         109. As result of its longstanding position as the exclusive provider of an
 2 Oktoberfest celebration in Leavenworth, Projekt Bayern has acquired wide
 3 recognition among attendees of cultural festivals.
 4         110. Because of the highly entertaining and superb quality service Projekt
 5 Bayern provides to those attending its LEAVENWORTH OKTOBERFEST event
 6 year after year, consumers have come to associate the LEAVENWORTH
 7 OKTOBERFEST event with Projekt Bayern.
 8         111. As described above, the City is knowingly and willfully misleading and
 9 deceiving consumers into believing that the 2022 Festival being held in Leavenworth
10 in 2022 has an affiliation, connection, or association with Projekt Bayern, or that the
11 2022 Festival is approved or sponsored by Projekt Bayern, either directly or through
12 the Chamber.
13         112. The City’s actions described above, including falsely and misleadingly
14 describing or representing in commercial advertising and promotion of the City’s
15 services as that of Projekt Bayern’s, misrepresents the nature, characteristics, and
16 qualities of the City’s services, either directly or through the Chamber.
17         113. For example, in a release dated July 11, 2022, Jessica Stroller, on behalf
18 of Leavenworth Chamber of Commerce, wrote that “Oktoberfest returns to
19 Leavenworth over three weekends,” insinuating to consumers that Projekt Bayern’s
20 LEAVENWORTH OKTOBERFEST event, which has been the only Oktoberfest
21 event taking place in the City of Leavenworth for the past 20 years, will be held in
22 Leavenworth again this year.
23         114. An advertisement for the 2022 Festival also stated that “Oktoberfest is
24 back,” again, suggesting to consumers that Projekt Bayern’s LEAVENWORTH
25 OKTOBERFEST event, which has been the only Oktoberfest event taking place in
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 24                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR      ECF No. 21    filed 09/21/22   PageID.749 Page 25 of 30




 1 the Leavenworth area for the past 20 years, will be held in Leavenworth again this
 2 year.
 3         115. Because of the partnership created between the City and the Chamber,
 4 said statement was either (1) made at the City’s direction or (2) approved by the
 5 City.
 6         116. Furthermore, the City is either instructing or approving others to use
 7 photographs, depicting the LEAVENWORTH OKTOBERFEST event rendered by
 8 Projekt Bayern, to advertise the City and the Chamber’s directly competing festival.
 9 The City is intentionally using the recognition and goodwill associated with Projekt
10 Bayern and the Projekt Bayern Services, specifically its LEAVENWORTH
11 OKTOBERFEST event, to launch its directly competing festival.
12         117. The City is also either instructing or approving others to use the words
13 “Leavenworth” and “Oktoberfest” closely together in connection with the marketing
14 and advertising efforts for the 2022 Festival so as to confuse, mislead, and otherwise
15 deceive consumers into believing the 2022 Festival originates from, is affiliated
16 with, and/or is licensed, sponsored, approved, or authorized by Projekt Bayern.
17         118. The City’s actions constitute unfair and deceptive practices in
18 commerce under Washington law.
19         119. The City’s actions have and continue to negatively affect the public
20 interest as consumers traveling from all around the United States are being deceived
21 into attending an event, of which they believe originates from, or is associated with,
22 Projekt Bayern, but instead, originates from the City.
23         120. As a direct consequence of the City’s unlawful acts and practices,
24 Projekt Bayern has suffered, will continue to suffer and/or is likely to suffer damage
25 to its business reputation and goodwill, for which Projekt Bayern is entitled to relief.
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 25                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22    PageID.750 Page 26 of 30




 1         121. By reason of the City’s unlawful acts and practices, the City has caused,
 2 is causing and, unless such acts are enjoined by the Court, will continue to cause
 3 irreparable harm to Projekt Bayern for which there is no adequate remedy at law and
 4 for which Projekt Bayern is entitled to injunctive relief.
 5                                      COUNT VI
 6      VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT
 7                      (As to the Leavenworth Chamber of Commerce)
 8         122. Projekt Bayern repeats, realleges, and incorporates all of the allegations
 9 made in the foregoing paragraphs of the Counterclaims as if fully set forth herein.
10         123. As result of its longstanding position as the exclusive provider of an
11 Oktoberfest celebration in Leavenworth, Projekt Bayern has acquired wide
12 recognition among attendees of cultural festivals.
13         124. Because of the highly entertaining and superb quality service Projekt
14 Bayern provides to those attending its LEAVENWORTH OKTOBERFEST event
15 year after year, consumers have come to associate the LEAVENWORTH
16 OKTOBERFEST event with Projekt Bayern.
17         125. As described above, the Chamber is knowingly and willfully
18 misleading and deceiving consumers into believing that the 2022 Festival being held
19 in Leavenworth in 2022 has an affiliation, connection, or association with Projekt
20 Bayern, or that the 2022 Festival is approved or sponsored by Projekt Bayern.
21         126. The Chamber’s actions described above, including falsely and
22 misleadingly describing or representing in commercial advertising and promotion of
23 the Chamber’s services as that of Projekt Bayern’s, misrepresents the nature,
24 characteristics, and qualities of the Chamber’s services.
25         127. For example, in a release dated July 11, 2022, Jessica Stroller, on behalf
26 of Leavenworth Chamber of Commerce, wrote that “Oktoberfest returns to
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 26                                      1001 FOURTH AVENUE, SUITE 4400
                                                                                     SEATTLE, WA 98154
                                                                                          206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.751 Page 27 of 30




 1 Leavenworth over three weekends,” insinuating to consumers that Projekt Bayern’s
 2 LEAVENWORTH OKTOBERFEST event, which has been the only Oktoberfest
 3 event taking place in the City of Leavenworth for the past 20 years, will be held in
 4 Leavenworth again this year.
 5         128. An advertisement for the 2022 Festival also stated that “Oktoberfest is
 6 back,” again, suggesting to consumers that Projekt Bayern’s LEAVENWORTH
 7 OKTOBERFEST event, which has been the only Oktoberfest event taking place in
 8 the Leavenworth area for the past 20 years, will be held in Leavenworth again this
 9 year.
10         129. Furthermore, the Chamber is using photographs, depicting the
11 LEAVENWORTH OKTOBERFEST event rendered by Projekt Bayern, to advertise
12 the City and the Chamber’s directly competing festival. The Chamber is
13 intentionally using the recognition and goodwill associated with Projekt Bayern and
14 the Projekt Bayern Services, specifically its LEAVENWORTH OKTOBERFEST
15 event, to launch its directly competing festival.
16         130. The Chamber is also using of the words “Leavenworth” and
17 “Oktoberfest” so closely together in connection with the marketing and advertising
18 efforts for their 2022 Festival so to confuse, mislead, and otherwise deceive
19 consumers into believing the 2022 Festival originates from, is affiliated with, and/or
20 is licensed, sponsored, approved, or authorized by Projekt Bayern.
21         131. The Chamber’s actions constitute unfair and deceptive practices in
22 commerce under Washington law.
23         132. The Chamber’s actions have and continue to negatively affect the
24 public interest as consumers traveling from all around the United States are being
25 deceived into attending an event, of which they believe originates from, or is
26 associated with, Projekt Bayern, but instead, originates from the Chamber.
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 27                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     Case 2:22-cv-00174-TOR       ECF No. 21     filed 09/21/22   PageID.752 Page 28 of 30




 1         133. As a direct consequence of the Chamber’s unlawful acts and practices,
 2 Projekt Bayern has suffered, will continue to suffer and/or is likely to suffer damage
 3 to its business reputation and goodwill, for which Projekt Bayern is entitled to relief.
 4         134. By reason of the Chamber’s unlawful acts and practices, the Chamber
 5 has caused, is causing and, unless such acts are enjoined by the Court, will continue
 6 to cause irreparable harm to Projekt Bayern for which there is no adequate remedy
 7 at law and for which Projekt Bayern is entitled to injunctive relief.
 8                           I.       PRAYER FOR RELIEF
 9         WHEREFORE, Defendant Projekt Bayern prays for relief as follows:
10         A.    An order dismissing the City’s Complaint against Projekt Bayern with
11 prejudice;
12         B.    An     order     declaring    that   the   trademark    LEAVENWORTH
13 OKTOBERFEST is owned by Projekt Bayern;
14         C.    An order preliminarily and permanently enjoining the City of
15 Leavenworth and the Leavenworth Chamber of Commerce from using
16 LEAVENWORTH OKTOBERFEST without authorization from Projekt Bayern or
17 claiming ownership of the LEAVENWORTH OKTOBERFEST trademark;
18         D.    An order requiring an accounting of all gains, profits, and advantages
19 derived from the Leavenworth Chamber of Commerce’s wrongful acts;
20         E.    An award to Projekt Bayern for all gains, profits, and advantages
21 derived by the Leavenworth Chamber of Commerce for its unlawful acts;
22         F.    An award to Projekt Bayern for all damages caused by the Leavenworth
23 Chamber of Commerce’s unlawful acts;
24         G.    An award to Projekt Bayern of all of its attorneys’ fees and costs to the
25 extent permitted by law; and
26         H.    For such other and further relief as this Court deems just and equitable.
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                                  FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 28                                        1001 FOURTH AVENUE, SUITE 4400
                                                                                       SEATTLE, WA 98154
                                                                                            206.624.3600
     Case 2:22-cv-00174-TOR    ECF No. 21    filed 09/21/22   PageID.753 Page 29 of 30




1                      II.      DEMAND FOR JURY TRIAL
2         Projekt Bayern demands a jury trial.
3         DATED this 21st day of September, 2022.
4
5     s/ James Breitenbucher                     s/ Kelly Konkright
6    James Breitenbucher, WSBA #27670            Kelly Konkright, WSBA #33544
     FOX ROTHSCHILD LLP                          LUKINS & ANNIS, P.S.
7    1001 Fourth Avenue, Suite 4400              717 W. Sprague Avenue, Suite 1600
8    Seattle, WA 98154                           Spokane, Washington 99201
     Tel 206.624.3600/Fax 206.389.1708           Tel 509.455.9555/Fax 509.747.2323
9    jbreitenbucher@foxrothschild.com            kkonkright@lukins.com
10
      s/ Cali R. Spota
11   Cali R. Spota (admitted pro hac vice)
12   FOX ROTHSCHILD LLP
     997 Lenox Drive
13   Lawrenceville, NJ 08648
14   Tel 609.896.3600/Fax 609.896.1469
     cspota@foxrothschild.com
15
16                      Attorneys for Projekt Bayern Associates

17
18
19
20
21
22
23
24
25
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                              FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 29                                    1001 FOURTH AVENUE, SUITE 4400
                                                                                   SEATTLE, WA 98154
                                                                                        206.624.3600
     Case 2:22-cv-00174-TOR     ECF No. 21    filed 09/21/22   PageID.754 Page 30 of 30




1                             CERTIFICATE OF SERVICE
2           I hereby certify under penalty of perjury under the laws of the State of
3 Washington that on the date written below, I caused a true and correct copy of the
4 foregoing to be delivered to the following party in the manner indicated:
5
       Name:      Rhett V. Barney, WSBA #44764        ☒ Via Electronic Mail/ECF
6      Address:   LEE & HAYES, P.C.                     Via U.S. Mail
7      Address:   601 W. Riverside Avenue               Via Overnight Courier
       Address:   Suite 1400                            Via Facsimile
8      Address:   Spokane, WA 99201                     Via FedEx
9      Phone:     (509) 324-9256
       Fax:       (509) 323-8979
10     Email:     rhettb@leehayes.com
11
       Name:      Robert J. Carlson, WSBA #18455      ☒ Via Electronic Mail/ECF
12
       Address:   LEE & HAYES, P.C.                     Via U.S. Mail
13     Address:   One Convention Place                  Via Overnight Courier
       Address:   701 Pike Street, Suite 1600           Via Facsimile
14
       Address:   Seattle, WA 98101                     Via FedEx
15     Phone:     (206) 315-4001
16     Fax:       (206) 315-4004
       Email:     bob@leehayes.com
17
18     Attorneys for Plaintiff City of Leavenworth

19          DATED this 21st day of September, 2022.
20
21
22                                           Mia Tenorino
                                             Legal Assistant
23                                           Fox Rothschild LLP
24                                           mtenorino@foxrothschild.com
25
26
     PROJEKT BAYERN’S AMENDED COUNTERCLAIMS                               FOX ROTHSCHILD LLP
     AND THIRD-PARTY COMPLAINT - 30                                     1001 FOURTH AVENUE, SUITE 4400
                                                                                    SEATTLE, WA 98154
                                                                                         206.624.3600
     138135641
